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IN THE UNITED STATES t)ls'rRIC'r CoU_n'r r
FoR THE WESTERN DISTRICT oF TENNE§§EE
WESTERN DIvISIoN

 

 

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UNITED STATES OF AMERICA W.D. m ill
Plajn{iff,
VS CR. NO. 02-20428-01-]3

MICHELLE THOMAS EGGLESTON,

Del`endant.

 

ORDER TO SURRENDER

 

The defendant, Michelle Thomas Eggleston, having been sentenced in the above case to the
custody of the Bureau of Prisons and having been granted leave by the Court to report to the designated
facility,

IS HEREBY ORDERED to Surrender to the Bureau of Prisons by reporting to the FMC
LEXINGTON SCP, 3301 Leestown Road, Lexington, KY, 40511 by 2:00 p.m. on TUESDAY,
MAY 31, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
l\/Iemphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the

defendant will report as ordered :o the facility named above.

ENTERED this the ay of May, 2005.

 

. D NIEL BREEN \
NI ED STATES DISTRICT JUDGE

  

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

 

Signed and acknowledged before me on

 

 

Clerkaeputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 226 in
case 2:02-CR-20428 vvas distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Steffen G. Schreiner

LAW OFFICE OF STEFFEN G. SCHREINER
369 N. Main

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

